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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :      CASE NO. 21-cr-487 (CKK)
               v.                            :
                                             :
NICHOLAS KENNEDY,                            :
                                             :
                      Defendant.             :

                       PARTIES’ RESPONSE TO COURT’S ORDER

       The Untied States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and the defendant, Nicholas Kennedy, by and through his attorney, Jacob

Zimmerman, hereby inform the Court that the defendant does not intend to plead guilty at the

hearing currently scheduled on February 8, 2023. The parties expect to be prepared to set a trial

date at the status hearing on February 8, 2023.



                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY

                                             /s/ Nadia E. Moore
                                             Nadia E. Moore
                                             Assistant United States Attorney, Detailee
                                             N.Y. Bar No. 4826566
                                             271 Cadman Plaza East
                                             Brooklyn, NY 11201
                                             (718) 254-6362

                                             /s/ Jacob Zimmerman
                                             Jacob Zimmerman
                                             Bar No.: MO0023
                                             Zimmerman Law
                                             1440 Kurre Lane
                                             Cape Girardeau, MO 63701

                                             Counsel for defendant Nicholas Kennedy
